Case 1:25-cv-01115-RPK-JRC             Document 10       Filed 04/21/25     Page 1 of 8 PageID #: 61




    UNITED STATES DISTRICT COURT
    EAS'fERN DISTRICT OF NEW YORK
                                                              ●X
                                                                                %mim
    CHARLES SALDARRIAGA


                                           Plaintiff.                No. 1:25-CV-1115-RPK-JRC


              - against -                                            JUDGE RACHEL P. KOVNER


                                                                     MAGISTRATE JUDGE
    THE CITY OF NEW YORK, NEW YORK CITY                              JAMES R. CHO
    POLICE DEPARTMENT SERGEANT DET. WILLIAM
   J. PLANETA (SHIELD NO. 2571), DET. ERIC BOLGER
   (SHIELD NO. 680), DET. LEONARDO MOSCOSO
   (SHIELD N0.5917), OFFICER MOHAMMAD F.
   HOSSAIN (SHIELD N0.17007)

                                           Defendants.
                                                              X



       MOTION FOR EXTENSION OF TIME TO SERVE DEFENDANTS AND FOR
         LEAVE TO EFFECT ALTERNATIVE SERVICE PURSUANT TO RULE 4



         Plaintiff CHARLES SALDARRIAGA, proceeding pro se and in forma pauperis,

  respectfully moves this Honorable Court for: (1) an extension of time under Fed. R. Civ. P. Rule

  4(m) to serve process on Defendants Hossain and Moscoso; (2) an order directing the Clerk of

  Court to reissue summonses listing updated addresses for those defendants; (3) an order directing

  the U.S. Marshals Service to effect service on them pursuant to Fed. R. Civ. P. 4(c)(3) and 28

  U.S.C. § 1915(d); and (4) leave to effect alternative service under Fed. R. Civ. P. 4(e)(1) and

  CPLR 308(5).


                                      PROCEDURAL HISTORY



         1.         On March 5, 2025, Plaintiff was granted leave to proceed in fomia pauperis.
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          2.       On March 10, 2025, the Clerk issued summonses and the U.S. Marshals Service

  was directed to serve the defendants.


                   On March 27, 2025, the U.S. Marshals attempted service using addresses Plaintiff

  initial!}.' provided.

          4.       On April 1, 2025, the Marshals filed unexecuted returns for Defendants

  MOHAMMAD F. HOSSAIN and LEONARDO MOSCOSO. (See Exhibits A and B, attached.)



                    GOOD CAUSE EXISTS TO EXTEND TIME FOR SERVICE




          5.       Plaintiff has diligently attempted to locate the individual defendants. After the

  failed attempts. Plaintiff obtained updated addresses through independent efforts, as follows:



               .   MOHAMMAD F. HOSSAIN

                   NYPD Police Academy
                   109th Satellite Station
                   130-30 28th Avenue

                   College Point, NY 11354

               .   LEONARDO MOSCOSO
                   93-35 123rd Street

                   South Richmond Hill, NY 11419




          6.       Plaintiff will provide completed USM-285 forms within seven (7) days of any order

  reissuing summonses.


          7.       As Plaintiff proceeds in forma pauperis, the U.S. Marshals Service must effect

  service under Fed. R. Civ. P. 4(c)(3) and 28 U.S.C. § 1915(d).




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               REQUEST FOR ALTERNATIVE SERVICE UNDER CPLR 308(5)




                 Pursuant to Rule 4(e)(1), Plaintiff requests leave to serve Defendants Hossain and

  Moscoso by means permitted under New York law.

         9.      CPLR 308(5) allows courts to direct alternative service when traditional methods

  have proven impracticable. Plaintiff proposes:

                 a) personal service at the updated addresses by the U.S. Marshals, or

                 b) certified mail, first-class mail, or any other method the Court deems proper.


         10.     These methods are reasonably calculated to give actual notice and are routinely

  appro\ ed when a pro se plaintiff has shown diligence and prior service efforts have failed.



                            WHEREFORE, Plaintiff respectfully requests:



         a.        An extension of 90 days to the Rule 4(m) deadline to complete service;

         b.        An order directing the Clerk to reissue summonses listing the updated addresses

                   for Defendants Hossain and Moscoso;

         c.        An order directing the U.S. Marshals Service to serve the individual defendants

                   by personal delivery or, if impracticable, by alternative means authorized by the

                   Court;

         d.        Leave for Plaintiff to retain a private process server in the event the Marshals

                   are unable to complete service within the extended period; and

         e.        Any other relief the Court deems just and proper.




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  Dated: April 21, 2025
         Queens, New York


                                                    Re^^tfupy si^m^d,
                                                    Charles Saldarriaga
                                                    Pro Se Plaintiff
                                                    1-20 Astoria Blvd Apt 4H
                                                    Astoria, New York 11102
                                                    (929) 789-2220
                                                    Charlesnv09@vahoo.com




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               Exhibit A
Case 1:25-cv-01115-RPK-JRC                                      Document 10                       Filed 04/21/25                    Page 6 of 8 PageID #: 66
   Case l:25-cv-01115-RPK-JRC               Document 7         Filed 04/01/25     Panp 2 nf 2 Panpin #● 57
    USM-285 is a 5-part form. Fill out the form and print 5 copies. Sign as needed and route as specifiedjejov^

  U.S. Department of Justice                                                                 PROCESS RECEIPT AND RETURN
  United States Marshals Service                                                             See "Inslructions for Service of Process by U.S. Marshal
                                                                                                                                                                        tt




   PLAINTIFF                                                                                                                   COURT CASE NUMBER

   Charles Saldarriaga                                                                                                         l:25-cv-01I15-RPK-JRC
                                                                                                                                                                               +
   DEFENDANT                                                                                                                   TYPE OF PROCESS

   The City of New York et al                                                                                                   0,S,C
                         NAME OF INDIVIDUAL, COMPANY, CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN



                    {
       SERVE             Detective Leonardo Moscoso, NYPD 114th Precinct
          AT             ADDRESS (Street or RFD. Apartment No.. City, State and ZIP Code)
                         34-16 Astoria Blvd Astoria, NY 11103
   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                      Number of process to be
                                                                                                                           served with this Form 285         3


                    PRO SE Charles Saldarriaga                                                                             Number of parties to be
                    1-20 Astoria Blvd.                                                                                     served in this case               5

                    Apt. 4H
                                                                                                                           Check for service
                    Astoria, NY 11102                                                                                      on U.S.A.
                                                                                                                    I-
       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE f/ycfatfr
       AllTelephoneNumbers,andEsllmatednmesAvaUableforServlce):                                                                        '^              COURTE.D.N.Y                   F(dd
Fold


                                                                                                                               ★            APR 0 I 2025                     *
                                                                                                                                   BROOKLYN OFFICE
                                                                                                                    TELEPHONE NUMBER                             DATE
   Signature of Attorney other Originator requesting service on behalf of:                   IS PLAINTIFF

                    \/- vAfi/Vttx)'?.                                                        □ DEFENDANT                 (718)613-2610                           3/10/25


        SPACE BELOW FOR USE OF U.S. MARSHAL ONLY- DO NOT WRITE BELOW THIS LINE
                                                                                                                                                                        Date
   I acknowledge receipt for the total       Total Process    District of      District to       Signature of Authorized USMS Dcpu^ or Cierk
   number of process indicated.                               Origin           Serve
   (Sign only far USM 285 ifmore                  V                            No.
                                                                                                                              r\
   than one VSM 285 is submitted)                             No


   I hereby certify and return that I O have personally served ,Q have legal evidence of service, D have executed as shown in emarks", the process described
   on the individual, company, corporation, etc., at the address shown above on the on the individual. company, corporation, etc, shown at the address inserted below.

       ^1 hereby certify and return that 1 am unable to locate the individual, company, corporation, elc. named above (See remarks below)
   Name and title of individual served 0/t<ot shown above)                                                                         r~) A person of suitableage and discretion
                                                                                                                                        then residing in defendant's usual place
                                                                                                                                        of abode

                                                                                                                                   Date                      Time
   Address (complete only different than shown above)

                                                                                                                                  3
                                                                                                                                                 i           o'-OiP
                                                                                                                                   Signature ofU.S. Marshal or Dei^
                                                                                                                                                                                     Dfl am
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                                                                                                                                                                                        ,          /}


                                                      Forwarding Fee        Total Charges        Advance Deposits         Amount owed to U.S. Marshal* or
   Service Fee            Total Mileage Charges
                                                                                                                          (Amount of Refund*)
                          including endeavors)

                                                                                                                                                     $Q.0Q

       REMARKS;
                     DeSk^                                                                                                                                        -fc be
         S^\J^             KVO


                                                                                                                                                 PRIOR EDITIONS MAY BE USED
       PKINrSCOI’IKS:     I 1. CLERK OF THE COURT
                          “ 2. USMS RECORD
                             3. NOTICE OF SERVICE                                                                                                                              Form USM-285
                             4. BILLING STATEMENT*: To be erturned to the U.S. Marshal with payment,                                                                               Rev. 12/15/80
                                 if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                                       Automated 01/00
                             5. ACKNOWLEDGMENT OF RECEIPT
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               Exhibit B
Case 1:25-cv-01115-RPK-JRC                                      Document 10                     Filed 04/21/25                Page 8 of 8 PageID #: 68
   Case l;25-cv-01115-RPK-JRC                                     Document 7                   Filed 04/01/25               Pane 1 nf 2 PanelD#: 56
        USM-28S is a 5-part form. Fill out the form and print 5 copies. Sign as needed and routejs^pecified_belo]^

  IKS. Department of Justice                                                               PROCESS RECEIPT AND RETURN
  United States Marshals Service                                                           See "Instniclions for Sen’ice of Process by U.S. Marsha!'


   PLAINTIFF                                                                                                              COURT CASE NUMBER

   Charles Saldarriaga                                                                                                    l:25-cv-01115-RPK-JRC
   DEFENDANT                                                                                                              TYPE OF PROCESS

   The City of New York et al                                                                                              0, s.c
                         NAME OF INDIVIDUAL, COMPANY. CORPORATION. ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN



                     {
       SERVE             Officer Mohammad F. Hossain, NYPD 109th Precinct
              AT         ADDRESS (Street or RFD, Apartment No.. City. State ami ZJP Code)

                         37-05 Union Street Flushing, NY 11354
   SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                Number of process to be
                                                                                                                     served with this Form 285        3


                     PRO SE Charles Saldarriaga                                                                      Number of parties to be
                     1-20 Astoria Blvd.                                                                               served in this case             5

                     Apt. 4H
                                                                                                                      Check for service
                     Astoria, NY 11102                                                                                on U.S.A.


       SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Basinesa gndAHemm
       All Telephone Numbers, and Estimated Times Available for Service):                                                                 ...^r'LED
Fold                                                                                                                              1.0        CLERK'S OFFICE               Fold


                                                                                                                                  U.S. district COURT E D.N.Y
                                                                                                                               ★            APR 0 I 2025

                                                                                                                   TELEPHONE NUMBER
                                                                                                                                   BRQQKIYN OFFlCr        DATE
   Signature of Attorney other Originator requesting service on behalfof:                  0 PLAINTIFF

                     \/-                                                                   □ DEFENDANT             (718)613-2610                          3/10/25

        SPACE BELOW FOR USE OF U.S. MARSHAL ONLY- DO NOT WRITE BELOW THIS LINE
   I acknowledge receipt for the total      Total Process   District of      District to       Signature of Authorized USMS Eleputy or Clerk
   number of process indicated.                             Origin           Serve

   (Sign only for USM 285 if more
   than one USM 285 is submitted)                           No.   ^ |n..^
   I hereby cenify and return that I Q have personally served .D have legal evidence of service, d have executed as shown in’Rentarks’, the proems descriM
   on      le individual, company, corporation, etc,, at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.

           I hereby certify and return that 1 am unable to locate the individual, company, corporation, etc. named above (See remarks below)
   Name and title of individual served (if       shown above)                                                                G A person ofsuitabie age and discretion
                                                                                                                                   then residing in defendant's usual place
                                                                                                                                   ofabode

                                                                                                                              Date                    Time
       Address (complete only different than shown above)

                                                                                                                             -iliilzC &-IO                               si
                                                                                                                                                                                 m

                                                                                                                                                                              pm




                                                                          Total Charges         Advance Deposits     Amount owed to U.S. Marshal* or
       Service Fee         Total Mileage Charges   Forwarding Fee
                           including endeavors)                                                                      (Amount of Refund*)

                                                                                                                                              $0.00

       REMARKS:




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                                                                               CrV\

                                                                                                                                             PRIOR EDITIONS MAY BE USED
       miNT 5 COPIES;         1. CLERK OF THE COURT
                             2. USMS RECORD
                             3. NOTICE OF SERVICE
                                                                                                                                                                     Form USM-285
                             4. BILLING STATEMENT*: To be returned to the U.S. Marshal with payment,
                                                                                                                                                                       Rev. 12/15/80
                                if any amount is owed. Please remit promptly payable to U.S. Marshal.                                                               Automated 01/00
                             5. ACKNOWLEDGMENT OF RECEIPT
